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 1                                                                      Hon. Richard A. Jones
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 5                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 6
                                       AT SEATTLE
 7
 8
     UNITED STATES OF AMERICA,                         NO. CR15-269RAJ
 9
                            Plaintiff,
                                                       ORDER ON DEFENDANT’S
10
                      v.                               MOTION TO SEVER
11
     RAFAEL VALADEZ-VAZQUEZ,
12
                            Defendant.
13
14         This matter comes before the Court on defendant Rafael Valadez-Vazquez’s
15 Motion to Sever (Dkt. #110). Having considered the briefing submitted by the parties,
16 the Court finds oral argument unnecessary. For the reasons that follow, the Court
17 DENIES defendant’s motion.
18         The essence of the defendant’s motion is that he seeks a separate trial from his co-
19 defendant because both are charged together only in Count 1, Conspiracy to Distribute
20 Methamphetamine and Heroin. He is not charged in Counts 2-9, which allege various
21 drug, gun, and money laundering offenses allegedly committed by the co-defendant in
22 furtherance of, or in connection with the conspiracy charged in Count 1. Defendant
23 Valadez-Vazquez consequently argues that the evidence offered to support the allegations
24 in Counts 2-9 would cause significant prejudice.
25          Specifically, Valadez-Velaquez contends that the admission of uncharged
26 misconduct of his co-defendant would significantly increase his chances of conviction by
27 reason of association, and the ‘spill-over’ effect could not be cured by any specific or
28 combination of jury instructions.


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 1          The Court disagrees for several reasons. Fed. R. Crim. P 14 is the applicable rule
 2 for severance and it provides in relevant part:
 3          (a) Relief. If the joinder of offenses or defendants in an
            indictment…appears to prejudice a defendant or the government, the
 4
            court may order separate trials of counts, sever the defendants’ trials,
 5          or provide any other relief that justice requires.
 6
 7          Rule 14 sets a high standard for a showing of prejudice. The party seeking

 8 reversal of the denial of a motion to sever bears the burden of proving such
 9 “ ‘clear,’ ‘manifest,’ or undue prejudice is of such a magnitude that the defendant is
                                                              th
10 denied a fair trial.’ ” Felix-Guitierrez, 940 F.2d 1209, (9 Cir. 1991).
11       In assessing whether the joinder of defendants is prejudicial, of foremost

12 importance is whether the evidence as it relates to the individual defendants is easily
                                                                            th
13 compartmentalized. United States v. Patterson, 819 F.2d 1495, 1501 (9 Cir. 1987).
14 Central to the determination is the trial judge’s diligence in instructing the jury on the
                                                                                          th
15 purpose of the various types of evidence. United States v. Cuozzo, 962 F.2d 945 (9 Cir.)
16 cert. denied, 113 S.Ct. 475 (1992).
17         The Court does not disagree, and the government does not dispute, that the above

18 noted evidence offered at the same trial may result in some degree of prejudice to
19 Valadez-Vazquez. It is equally clear from the government’s response that the evidence in
20 Counts 2-9 will point solely to defendant Daza-Cortez and equally be distinguishable as
21 being limited to his conduct alone. As noted by the government, the events leading up to
22 the seizure of guns and the guns themselves are “factually, temporally, and
23 geographically distinct from the rest of the evidence of the conspiracy” (Dkt. #120, p. 5).
24          The Court is prepared to instruct the jury at the beginning of the trial, during the

25 course of the trial, and at the close of trial on the separate consideration of evidence as it
26 relates to each defendant. The parties are free to submit any particular or model
27 instruction appropriate to ensure the jury properly compartmentalizes the evidence as it is
28 received to reduce the risk of any cross-over consideration of the alleged acts of Daza-
     Cortez to Valadez-Vazquez.

     ORDER ON DEFENDANT’S
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 1         In addition, based upon the proffer of evidence enunciated by the government, it
 2 does appear the evidence to be presented will be utilized far more efficiently in a joint
 3 trial. Much of the evidence, including who was involved in which of six transactions,
 4 would be presented even if the Court severed the trial. This observation includes the
 5 communications between the confidential source and the defendants, the video evidence,
 6 the surveillance observations, and the chemist and fingerprint analyst.
 7         For all of these reasons, the Court finds that Valadez-Vazquez’s Motion to Sever
 8 (Dkt. #110) is DENIED.
 9
10         DATED this 24th day of February, 2017.
11
12                                                   A
13                                                   The Honorable Richard A. Jones
                                                     United States District Judge
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     ORDER ON DEFENDANT’S
     MOTION TO SEVER - 3
